                                                           SIGNED.


                                                           Dated: November 11, 2022




                                                          _________________________________
                                                          Paul Sala, Bankruptcy Judge




               I N THE U NITED S TATES B ANKRUPTCY C OURT
                       FOR THE     D ISTRICT OF A R IZONA

  In re:                                     Chapter 11

  ARA MACAO HOLDINGS, L.P.,                  Case No. 3:18-bk-03615-PS


                         Debtor.            ORDER GRANTING CHAPTER 11
                                            TRUSTEE’S MOTION FOR
                                            AUTHORITY TO: (1) SELL
                                            BELIZEAN LAND; (2) REJECT
                                            RELATED EXECUTORY
                                            CONTRACTS; AND (3) PAY
                                            ASSOCIATED REAL ESTATE
                                            COMMISSION AND FINDER’S FEE


                                            Hearing Date: November 10, 2022
                                            Hearing Time: 10:30 a.m.
                                            Hearing Place: Courtroom 601/Zoom


       This matter came before the Court on November 10, 2022 at the hour of 10:30
a.m. for hearing on the Chapter 11 Trustee’s Motion for Authority to: (1) Sell Belizean
Land; (2) Reject Related Executory Contracts; and (3) Pay Associated Real Estate
Commission and Finder’s Fee [DE 512] (the “Motion”). The Chapter 11 Trustee (the
“Trustee”) appeared through counsel S. Cary Forrester, of Forrester & Worth,
PLLC.      The Official Committee of Unsecured Creditors (the “Committee”)



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appeared through counsel Patrick A. Clisham, of Engelman Berger, P.C. The
Office of the United States Trustee appeared through counsel Edward K.
Bernatavicius. Other appearances, if any, are as noted on the record.
      The Court has considered the Motion, the representations of counsel, and
the record before it and finds that the Motion was duly noticed to creditors and
interested parties, the deadline for objections has passed, and the only objections
were filed by Joel Dorgan on August 1, 2022 [DE 520] (the “Dorgan Objection”)
and Juan Pedro Rodriguez on September 13, 2022 [DE 546] (the “Rodriguez
Objection”). Based upon the foregoing, and good cause appearing,

      THE COURT HEREBY FINDS AND CONCLUDES AS FOLLOWS:
      Predicates for Relief.
      1.     The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§
157(b) and 1334. This is a core proceeding within the meaning of 28 U.S.C. §
157(b)(2).
      2.     The predicates for the relief sought in the Motion are 11 U.S.C. §§
105(a), 330, 363(b), (f), and (m), 365, and 503(b)(1)(A), Rules 2002, 2016, 6004, and
6006, Federal Rules of Bankruptcy Procedure, and Rule 6004-1, Local Rules of
Bankruptcy Procedure.

      The Estate’s Real Property in Belize.

      3.     Debtor Ara Macao Holdings, L.P. (“AMH”) holds equitable title to
approximately 616.5 acres of land on the Placencia Peninsula, Stann Creek District,
Belize, CA (the “Land”), which is more fully described as follows:

      ALL those pieces or parcels of land being Block A comprising 381.014 acres,
      Block B comprising 134.336 acres, Block C comprising 58.249 acres and Block
      D comprising 42.906 acres situated South of Riversdale in the Blair Atoll area




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        on the Placencia Peninsula, Stann Creek District of Belize in name of
        Mackinnon Belize Land & Development Limited.

        4.   AMH, acting through its general partner, ioVest Development, LLC,
(“ioVest”), acquired the Land from MacKinnon Belize Land & Development, Ltd.
(“MBLDL”) in 2004.
        5.   AMH paid the purchase price for the Land over approximately three
years, with the final payment being made in 2007. It did not take title to the Land,
however, which remains with MBLDL pending execution (or re-execution) of the
transfer documents, payment of the applicable stamp duty, and certain related
ministerial acts.
        The Trustee’s Marketing Efforts.
        6.   The Trustee retained John Viggers of Cushman & Wakefield Iowa
Commercial Advisors (“Cushman”) to assist him in marketing the Land. The
order approving Cushman’s engagement was entered on October 28, 2020 [DE
430].
        7.   Cushman retained the services of Real Capital Markets (“RCM”) to
assist with its internet marketing efforts. Cushman uploaded due diligence
materials and a promotional pamphlet to a newly created RCM website, where the
promotional pamphlet could be viewed by anyone and the due diligence materials
could be viewed by those who signed confidentiality agreements. The RCM
website went active on February 4, 2021 and an email was sent to 9,735 investors
chosen by RCM from its data base as being most likely to be interested in the Land.
The website has now had more than 3,917 views from the U.S. and 182 from
foreign countries.
        8.   Cushman also marketed the Land directly to many marina developers
and owners, both in the U.S. and internationally, and via Crexi to a broad range of
brokers and investors across the U.S., with 9,615 Impressions, including 374


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visitors to the web page. Cushman also marketed the Land directly to all known
local real estate agents within Belize.
       9.    Mr. Viggers toured the Land and surrounding areas with the Trustee
in April of 2021, met with representatives of Boris Mannsfeld & Associates
(“BMA”), the largest real estate broker on the Peninsula, discussed marketing
strategies, and encouraged BMA to solicit and submit offers from its clients.
       10.   In March of 2022, the Trustee, in an effort to boost his marketing
activities, entered into an agreement with BMA, pursuant to which he agreed to
pay BMA a finder’s fee equal to 4% of the sales price if a sale to a purchaser
introduced by BMA actually closes. The Finder’s Fee Agreement was approved by
the Court on March 24, 2022 [DE 505].
       The Purchase Contract.
       11.   On July 11, 2022, the Trustee entered into a contract for the sale of the
Land (the “Purchase Contract”) to Jisheng Song, or his nominee (“Buyer”), for the
cash purchase price of $5.8 million. The Buyer was introduced to the Trustee by
BMA.
       12.   A copy of the Purchase Contract is attached as Exhibit “A” to the
Motion.
       13.   On or about July 12, 2022, the parties entered into an Addendum to
the Purchase Contract (the “First Addendum”) which designated Arizona Escrow
& Financial Corporation as the escrow agent and authorized it to deduct its fees
from the earnest money deposit. A copy of the First Addendum is attached to the
Notice of Filing Addenda to Purchase Contract filed by the Trustee on November
9, 2022, as Exhibit “A”.
       14.   On or about November 9, 2022, the parties entered into a Second
Addendum to the Purchase Contract (the “Second Addendum” and, together
with the First Addendum, the “Addenda”) which, among other things, obligates


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the Trustee to pay one-half of any second stamp duty, up to the amount of US
$240,000, in the event that the government of Belize charges two stamp duties on
the transfer of the Land. It also clarifies when the balance of the purchase price and
any additional amounts required to be paid by Buyer would be due. A copy of the
Second Addendum is attached to the Notice of Filing Addenda to Purchase
Contract and Related Closing Documents filed by the Trustee on November 10,
2022, as Exhibit “B”.
      15.    All further references to the Purchase Contract shall refer to the
Purchase Contract as modified by the Addenda.
      16.    The assets to be sold include the Land and any and all rights, powers,
and privileges appurtenant to the Land, including without limitation, any water
rights, rights to utility services, development rights, entitlements, and rights under
recorded covenants, conditions and restrictions encumbering the Land
(collectively the “Property”).
      17.    The Purchase Contract provides that the sale of the Property is to be
free and clear of all pledges, liens, security interests, encumbrances, claims (as
defined in Section 101(5) of the Bankruptcy Code), charges, options, and interests
on and/or against the Land, other than those approved by Buyer (“Permitted
Exceptions”).
      18.    The Purchase Contract provides that the sale of the Property is to be
on an “as is, where is” basis, without representation or warranty, express or
implied, of any kind, nature, or description by the Trustee, his agents, or the estate
except as otherwise set forth in the Purchase Contract.
      19.    The Property has been thoroughly exposed to the market and the
sales price, US $5.8 million, accurately reflects the fair market value of the
Property.




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      Escrow, Buyer’s Due Diligence, and Title Review.
      20.    Escrow was opened with Arizona Escrow & Financial Corporation on
or July 15, 2022, at which time Buyer made an earnest money deposit in the total
amount of $201,285.00.
      21.    The due diligence period and Buyer’s title review period expired on
October 13, 2022. Buyer made limited objections to title, which were resolved as
follows: (a) the parties agreed that no funds would be paid out of escrow until
MBLDL had signed all documents necessary to the transfer of title and delivered
them to the closing agent; (b) ioVest Development, LLC, an Illinois limited liability
company, signed a deed of acknowledgment and release whereby, among other
things, it released any interest in the Property; (c) Ara Development, Ltd., Debtor’s
wholly owned subsidiary, signed a deed of acknowledgment and release whereby,
among other things, it released any interest in the Property; (d) Ronald Deaton
signed a deed of acknowledgement and release whereby, among other things, he
released any equitable interest that he may have in Lots 6, 7, and 49 of the Land in
return for a payment of US $100,000 to be paid at the close of escrow; and (e) the
Trustee agreed to pay, from his share of the escrow proceeds, one-half of any
second stamp duty, up to the amount of US $240,000, in the event that the
government of Belize charges two stamp duties on the transfer of the Land.
      The Motion and the Sale Procedures Motion.
      22.    On July 11, 2022, the Trustee filed the Motion. A copy of the Purchase
Contract was attached as Exhibit “A.” At the same time, he filed the Chapter 11
Trustee’s Motion to Approve Sale Procedures Relating to his Motion for Authority to: (1)
Sell Belizean Land; (2) Reject Related Executory Contracts; and (3) Pay Associated Real
Estate Commission and Finder’s Fee [DE 513] (the “Sale Procedures Motion”).
      23.    On August 11, 2022, after notice and a hearing, the Court entered its
Order Granting Chapter 11 Trustee’s Motion to Approve Sale Procedures Relating to his


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Motion for Authority to: (1) Sell Belizean Land; (2) Reject Related Executory Contracts;
and (3) Pay Associated Real Estate Commission and Finder’s Fee [DE 526] (the “Sale
Procedures Order”).
      24.    The Sale Procedures Order, among other things, established
procedures for submitting and evaluating competitive bids for the Property. The
procedures afforded a full and fair opportunity for prospective purchasers to
make competitive bids.
      Notice to Creditors and Interested Parties.
      25.    As required by Rule 6004, Federal Rules of Bankruptcy Procedure,
and Rule 6004-1, Local Rules of Bankruptcy Procedure, the Trustee provided
notice by first class mail of the proposed sale, the opportunity to make higher
and better offers, and the bidding procedures to: (a) all those on the Master
Mailing List; (b) all parties known or believed by the Trustee to have an interest
in the Property; (c) all parties asserting liens, claims or interests in the Property
and their counsel, if known; and, (d) all parties to the Executory Contracts.
      26.    Notice was provided to all those on the Master Mailing List on August
15, 2022 [DE 529 and 533]. Between August 15, 2022 and August 31, 2022, the
Trustee also provided notice by email to Chris Moguel, Jose Bacera, Ed Rohn, Jerry
Tokoph, Lloyd Harvey, Tom Pugh, David Kafka, Joel Jackson, Boris Mannsfeld,
Frik de Meyer, and Jim Pielemeier, all of whom had previously expressed an
interest in acquiring the Property on behalf of themselves or their clients.
      27.    The notice described in Paragraphs 24-25, above, is good and
sufficient under the circumstances, complies in full with all notice requirements
arising under the Federal Rules of Bankruptcy Procedure and applicable authority,
and no other or further notice is necessary to obtain the relief requested by the
Motion.




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      No Higher and Better Offers
      28.    The Sales Procedures Order established a deadline of October 17,
2022, for submitting higher and better offers. The Trustee complied with the Sales
Procedures Order but no competitive bids were received by the deadline, or
thereafter. Accordingly, Buyer is the Successful Bidder.
      Rejected Executory Contracts.
      29.    AMH raised money, in part, by pre-selling a number of lots and
condominium units on the Land for a total of approximately $7.4 million. The
contracts for the purchase of the lots and condominium units are referred to as the
“Executory Contracts”.
      30.    Approximately sixty-four Executory Contracts remain. They are
detailed in Debtor’s Schedule G, filed on May 30, 2018 [DE 89], and the
counterparties are included on the Master Mailing List in this case.
      31.    The Purchase Contract calls for the rejection of the Executory
Contracts, except as otherwise directed by Buyer prior to the entry of this order
(the “Sale Order”). Buyer has designated no executory contracts to be assumed
and assigned.
      Liens Against the Property.
      32.     The only known lien against the Property, other than real estate
taxes, is held by the law firm of Barrow & Williams. It secures an obligation for
unpaid legal fees in the principal amount of approximately $185,247.25. The lien
is to be satisfied at the close of escrow.
      33.    There are no other known liens against the Property. However, on
September 27, 2019, Ronald Deaton (“Deaton”) took judgment against Ara
Development, Ltd., Debtor’s wholly-owned subsidiary, in the Supreme Court of
Belize, Claim No. 190 of 2019, in the amount of US $250,000, together with costs in
the amount of US $35,000, and together with accruing interest (the “Deaton


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Judgment”). The Deaton Judgment provides, among other things, that Deaton is
vested with equitable title to Lot 49 of the approved subdivision of the Land.
Deaton has agreed to accept US $100,000, to be paid at the close of escrow, for the
release of any equitable interest he may have in the Property.
      General.
      34.    The sale of the Property is an appropriate exercise of the Trustee’s
business judgment and is in the best interests of the Debtor, the estate, its creditors,
and its equity holders.
      35.    The Purchase Agreement was negotiated, documented, and entered
into by the Trustee and the Buyer without collusion or fraud, at arm’s length, and
in good faith within the meaning of 11 U.S.C. § 363(m), and the Buyer is entitled
to the protections afforded good faith purchasers by § 363(m).
      36.    Buyer is not an “insider” or “affiliate” of Debtor as those terms are
defined in the Bankruptcy Code, and no common identity of incorporators,
directors, officers or equity-holders exist between Buyer and Debtor. Pursuant to
the Purchase Agreement, Buyer is not holding itself out to the public as a
continuation of Debtor. The sale does not amount to a consolidation, merger, or
de facto merger of Buyer and Debtor and/or Debtor’s estate, there is no substantial
continuity or “continuity of enterprise” between Buyer and Debtor, Buyer is not a
mere continuation of Debtor or Debtor’s estate, and Buyer does not constitute a
successor to Debtor or Debtor’s estate.
      37.    Except as expressly provided to the contrary in the Purchase
Agreement, Buyer’s acquisition of the Property shall be free and clear of any
“successor liability” claims of any nature whatsoever, whether known or
unknown, and whether asserted or unasserted as of the closing of the sale.
      38.    Good cause exists for granting the relief requested in the Motion.




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      ACCORDINGLY, IT IS HEREBY ORDERED, as follows;
      A.       Overruling the Dorgan and Rodriguez Objections;
      B.       Granting the Motion and authorizing and approving the sale of the
Property to Buyer, pursuant to 11 U.S.C. §§ 363(b), (f) and (m), in accordance with
the terms of the Purchase Contract, for the cash purchase price of $5,800,000.00,
and authorizing the Trustee to execute and deliver all documents and perform all
acts necessary or desirable to consummate the transactions contemplated by the
Purchase Contract;
      C.       Ordering that, pursuant to 11 U.S.C. §§ 363(b), (f) and (m), the
Property is to be sold to Buyer free and clear of all pledges, liens, security interests,
encumbrances, claims (as claim is defined in Section 101(5) of the Bankruptcy
Code), charges, options, and interests on and/or against the Property including,
without limitation, the liens, claims and interests described above, with all such
liens, claims, and interests to attach to the proceeds of sale with the exception of
the amounts owing to Barrow & Williams and Ronald Deaton, as described above,
which shall be paid at close of escrow;
      D.       Ordering that, except as expressly provided in the Purchase Contract,
neither Buyer nor the Property will have any obligation or liability for any of the
indebtedness, liabilities, or other obligations of the Debtor or the estate (including
based on successor liability or similar theory) or be subject to any tax liability of
Debtor or the estate except for outstanding real estate taxes and any transfer tax
liability or stamp duty that may be incurred as a result of the transfer of title of the
Property to Buyer, which shall be paid at the close of escrow;
      E.       Finding that Buyer is a good faith purchaser within the meaning of 11
U.S.C. § 363(m) and is entitled to the protections afforded good faith purchasers
by § 363(m);




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       F.    Approving the payment of a real estate commission to Cushman
equal to 4% of the gross purchase price, pursuant to 11 U.S.C. §503(b)(1)(A), and
authorizing Cushman to share the commission with Buyer’s broker, BMA. The
commission is to be paid at the close of escrow;
       G.    Approving the payment of a finder’s fee to BMA equal to 4% of the
gross purchase price, with such commission to be paid at the close of escrow;
       H.    Waiving the fourteen-day stay provided by Bankruptcy Rule 6004(h);
and,
       I.    This Order shall be binding on the Buyer, the Trustee, the Debtor, its
bankruptcy estate, all creditors, and all parties in interest.




                          -- SIGNED AND DATED ABOVE --




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